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                                 United States District Court
                                  District of Massachusetts

                                    NOTICE
                          TRANSCRIPT REDACTION POLICY

       Effective May 5, 2008, the District of Massachusetts, in accordance with Judicial Conference
Policy and the amendments to Rule 5.2 of the FRCvP and Rule 49.1 of the FRCrP, will implement
a Transcript Redaction Policy regarding official court transcripts.

     A copy of the policy is attached to this notice, and may be found on the court’s web site at
www.mad.uscourts.gov.

       Summary of the Policy:

       1.      Counsel of record are obligated to review the transcript for personal identifying
               information.

       2.      Any transcript filed with the clerk of court by a court reporter or transcriber will be
               available electronically at the office of the clerk of court, for inspection only, for a
               period of ninety (90) days.

       3.      During the ninety (90) day period, a copy of the transcript may be obtained from the
               court reporter or transcriber at the rate established by the Judicial Conference. The
               transcript will be available electronically at the public terminal at the courthouse and
               remotely available through PACER to any attorneys of record who have purchased
               a copy from the court reporter.

       4.      If personal identifiers are found in the transcript, a “Notice of Intent to Redact” must
               be filed with the clerk (via CM/ECF) within seven (7) business days of the date the
               transcript was filed.

       5.      A “Redaction Request” that includes the specific page and line numbers to be
               redacted must be filed with the clerk (via CM/ECF) within twenty one (21) calendar
               days of the date the transcript was filed.

       6.      The transcript (or redacted transcript) will be made available electronically to the
               public ninety (90) days after the transcript was filed, without further notice to the
               parties.

        Counsel are urged to share this notice with their clients so that an informed decision about
the inclusion of certain materials may be made. Every transcript filed electronically in the Court’s
CM/ECF database will be accompanied by a notice to counsel regarding their duties under the
policy. The responsibility for redacting personal identifiers rests solely with counsel and the
parties. Neither the clerk nor the court reporter will review transcripts for compliance with this
policy.

May 1, 2008                                                   Sarah Allison Thornton
                                                              Clerk of Court
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United States District Court
District of Massachusetts
Office of the Clerk


TRANSCRIPT REDACTION POLICY - AMENDED MAY 5, 2008


                                                   INTRODUCTION
       The United States District Court for the District of Massachusetts shall make transcripts of
court proceedings, filed on and after May 5, 2008, available through its electronic case files
(CM/ECF) system.

        The primary purpose of the Transcript Redaction Policy is to provide guidance to the Court’s
Official Court Reporters and the attorneys of this bar when preparing and reviewing transcripts of
official court proceedings to be filed with the Court.

                                                    AUTHORITY

       At its September 2007 session, the Judicial Conference approved a new policy regarding the
availability of transcripts of court proceedings.

       In addition, amendments to the Federal Civil and Criminal Rules of Procedure implementing
requirements of the E-Government Act of 2002 to protect the privacy and security of publicly
available electronic filings took effect on December 1, 2007. The amendments to Rule 5.2 of
FRCvP and Rule 49.1 of FRCrP require that personal identification information (social security
numbers, names of minor children, financial account numbers, dates of birth, and, in criminal cases,
home addresses) be redacted from documents filed with the Court.

                                              POLICY DESCRIPTION

          The effective date of this Policy is May 5, 2008.

       It applies only to transcripts of proceedings held before a Judicial Officer of this Court, not
depositions taken outside of court or proceedings of state courts or other jurisdictions.

       It establishes a procedure for counsel to request the redaction from the transcript of specific
personal data identifiers before the transcript is made electronically available to the general public.

        It does not change any rules or policies with respect to sealing or redaction of court records
for any other purpose.


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Transcript Redaction Policy                                                               Date: May 5, 2008
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Office of the Clerk


TRANSCRIPT REDACTION POLICY - AMENDED MAY 5, 2008

        It does not affect or limit the right of any party (or any other person or entity) to order
production of a transcript on an expedited basis. This policy does not affect any court rules or ruling
requiring the sealing of materials or the protection of sealed materials.

        There is no obligation on the part of the Office of the Clerk to perform any redaction. It is
the responsibility of counsel to advise the court reporter what to redact, and the responsibility of the
court reporter to perform the redaction.

       Redaction responsibilities apply to counsel, even if the requestor of the transcript is a judge
or a member of the public or media.

        Unless otherwise ordered by the Court, counsel shall review the following portions of the
transcript:

          •         opening and closing statements made on the party’s behalf;
          •         statements of the party;
          •         the testimony of any witnesses called by the party; and
          •         any other portion of the transcript as ordered by the Court.

                                                   PROCEDURES

Notice of Intent to Redact

        Within seven (7) business days of the filing of an official court transcript, each party wishing
to redact a transcript shall inform the Court by filing (via CM/ECF) with the Clerk’s Office a
“Notice of Intent to Redact .” A sample form is available on the Court’s website and is attached to
this policy.

Redaction Request

        If a redaction is requested, unless the Court shall otherwise order, counsel shall file (via
CM/ECF) with the Clerk’s Office, a “Redaction Request” within twenty one (21) days from the
filing of the transcript, indicating where the personal identifiers appear in the transcript by page and
line, and how they are to be redacted. A sample form is available on the Court’s website and is
attached to this policy.


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Office of the Clerk


TRANSCRIPT REDACTION POLICY - AMENDED MAY 5, 2008

          This procedure is limited to the redaction of the specific personal data identifiers listed
below:

          •         Social security numbers to the last four digits;
          •         Financial account numbers to the last four digits;
          •         Dates of birth to the year;
          •         Names of minor children to the initials; and
          •         Home addresses to the city and state.

       If counsel files a “Notice of Intent to Redact,” but later determines that no redaction is
necessary, counsel shall file a “Withdrawal of Notice of Intent To Redact.”

        If counsel fails to timely file a Redaction Request or Motion to Extend Time or a Withdrawal
of the Intent to Redact, the Office of the Clerk shall issue an Order to Show Cause requiring the
attorney to file the redaction request, a notice of withdrawal of the intent to redact, or show cause
why the transcript should not be released to the public after ninety (90) calendar days from the date
the original transcript was filed.

Additional Copies of Transcript Purchased

        The court reporter shall notify the court reporter supervisor if additional copies of the
transcript are purchased by other counsel of record. The court reporter supervisor will provide
electronic access for those additional attorneys during the ninety (90) day period.

Redacted Transcript

        If a redaction is requested, the court reporter shall file the redacted transcript with the Office
of the Clerk within thirty one (31) days after the filing of the original transcript. The title page of
the redacted transcript shall indicate that it is a redacted transcript by including “REDACTED
TRANSCRIPT” immediately below the case caption and before the volume number and the name
and title of the Judge.




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Office of the Clerk


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Sealed and Partially Sealed Transcripts

       If a transcript is to be filed under seal, the court reporter shall submit that transcript clearly
labeled as “SEALED.” The court reporter supervisor shall electronically file the PDF document
with the appropriate restrictive setting.

       If only a portion of a transcript has been ordered sealed, the court reporter shall extract the
sealed portions from the original transcript as a separate PDF document (clearly labeled as
“SEALED”). The remaining public portion of the transcript shall be created and both PDF
documents, clearly labeled, submitted to the court reporter supervisor for electronic filing.

        Counsel shall review the remaining public portion of the transcript for any necessary
redactions.

Requests for Additional Redactions

        Further redactions require the filing of a “Motion for Redaction of Electronic Transcript.”
Until the Court has ruled on any such motion, the transcript shall not be electronically available,
even though the ninety (90) day restriction period may have expired.

Remote Public Access to Transcripts

        If the original transcript is filed without redaction, that original transcript shall be remotely
electronically available through PACER after ninety (90) calendar days.

        If a redacted transcript is filed with the Court, that redacted transcript shall be remotely
electronically available through PACER ninety (90) calendar days from the date of filing of the
original transcript. The original transcript shall not be made publicly available.

CJA Panel Attorneys

        An attorney who is serving as appointed “standby” counsel for a pro se litigant must review
the transcript as if the pro se party were his/her client. If an attorney represents a client pursuant to
the Criminal Justice Act (CJA), including serving as standby counsel, the attorney conducting the
review of the transcript is entitled to compensation under the CJA for functions reasonably


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TRANSCRIPT REDACTION POLICY - AMENDED MAY 5, 2008

performed to fulfill that obligation, and for reimbursement of reasonable expenses related to the
transcript review.

PACER Fees

        PACER fees shall be applied both during and after the ninety (90) day restriction period.
Charges shall accrue for all pages of the transcript. The user shall incur PACER charges each time
the transcript is accessed even though he/she may have purchased it from the court reporter and
obtained remote access through CM/ECF. Unlike other documents filed electronically, there is no
‘free look’ for transcripts.




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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


________________________________________
                              Plaintiff(s)

                vs.                                              Docket No. :

________________________________________
                              Defendant(s)


                      NOTICE OF INTENT TO REQUEST REDACTION

        Notice is hereby given that a Redaction Request shall be filed electronically with the Court,
via CM/ECF, within 21 days from the filing of the transcript. The transcript for proceedings on



                      SAMPLE
_________ was transcribed by _____________________, Official Court Reporter.
                                                Submitted by

                                                __________________________________
                                                (Party name)

                                                Through Counsel:

Date: _____________                             /s/
                                                BBO: ______________________________
                                                ___________________________________
                                                ___________________________________
                                                ___________________________________


                                  CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system shall be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies shall be sent to those indicated as non-registered participants on              .


                                                /s/

NOTE: This Notice should be filed electronically using ‘Notice of Intent to Request Redaction’ found under
the Other Documents menu in CM/ECF. It will be available only to Court staff and case participants.




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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


______________________________________
                              Plaintiff(s)

                 vs.                                                 Docket No. : __________________

______________________________________
                              Defendant(s)

                                          REDACTION REQUEST

        Now comes ___________________, by counsel and submits this Redaction Request. The transcript
for proceedings on _________ was transcribed by _____________________, Official Court Reporter. The
Transcript Redaction Policy requires redaction of the following personal identifiers from the transcripts made
electronically available:

                 •          Social security numbers to the last four digits,
                 •          Financial account numbers to the last four digits,



                       SAMPLE
                 •          Dates of birth to the year,
                 •          Names of minor children to the initials, and
                 •          Home addresses to the city and state.

        It is requested that consistent with the Court’s Transcript Redaction Policy, the following information
be redacted prior to the transcript being made remotely electronically available:

 Document #          Page       Line(s)       Identifier        Reaction Requested         Court Reporter
      of                                     (Example:              (Example:
 Transcript                                SSN XXX-XX-XXXX)     SSN XXX-XX-1234)
    (from
   docket)




                                       (Use additional sheets if necessary)

         The undersigned understands that redactions other than the personal identifiers listed in the Transcript
Redaction Policy require a separate Motion for Additional Redactions be filed within 21 days of the filing
of the transcript and requires court approval.

                                                     /s/
                                                     Attorney for _________________________
                                                     Date: __________________________________

NOTE: This Request should be filed electronically using ‘Redaction Request - Transcript’ found under the
Other Documents menu in CM/ECF. It will be available only to Court staff and case participants.



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